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GAS 245D         (Rev. 09/11) Judgment in a Criminal Case for Revocations                                                       FILED
                 Sheet I                                                                                                       1STRCT. COURT

                                          UNITED STATES DISTRICT COURT                                                         AUG —1 letS
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                           WAYCROSS DIVISION
                                                                                                         CLERK
             UNITED STATES OF AMERICA                                       )              JUDGMENT IN A CRINEIN
                                                                            )              (For Revocation of Probation or Supervised Release)
                                  V   .




                          Rodney Deen                                       )              Case Number:            5:13CR00003-2

                                                                            )              USM Number:             17919-021

                                                                                           Bryant H. Bower, Jr.
                                                                                           Defendant's Attorney
THE DEFENDANT:
   admitted guilt to violation of mandatory conditions of the term of supervision.
El was found in violation of conditions(s)                                             __ after denial of guilt.

The defendant is adjudicated guilty of these violations:

   Violation Number              Nature of Violation                                                                                Violation Ended

                                 The defendant failed to refrain from unlawful use of a controlled substance                           July 9, 2014
                                 (mandatory condition).

                                 The defendant failed to refrain from unlawful use of a controlled substance                        January 28, 2015
                                 (mandatory condition).

        The defendant is sentenced as provided in pages 3 through                      5     of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
LI The defendant has not violated condition(s)                                                   - and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            August 5, 2015
Last Four Digits of Defendant's Soc. Sec. No: 3352                          Date of Imposition of Judgment



Defendant's Year of Birth: 1964                                             Signature of Judge                          Pr

City and State of Defendant's Residence:

Alma, Georgia                                                               William T. Moore, Jr.
                                                                            Judge, U.S. District Court
                                                                            Name and Title of Judge




                                                                                Date
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DEFENDANT:             Rodney Deen
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                                                    ADDITIONAL VIOLATIONS

  Violation Number            Nature of Violation                                                                   Violation Ended

                              The defendant failed to refrain from unlawful use of a controlled substance             July 13, 2015
                              (mandatory condition).

                              The defendant failed to pay a fine or restitution obligation in accordance             August 5, 2015
                              with the schedule of payments set forth by the Court (mandatory condition).
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GAS 245D             (Rev. 09/I1) Judgment in a Criminal Case for Revocations


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DEFENDANT:                  Rodney Deen
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                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 3 months




           The court makes the following recommendations to the Bureau of Prisons:




           The defendant is remanded to the custody of the United States Marshal.

     El    The defendant shall surrender to the United States Marshal for this district:

          El    at                                   El        am.       LI p.m. on

          LI    as notified by the United States Marshal.

     LI    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          LI    before 2 p.m. on

          LI    as notified by the United States Marshal.

          LI    as notified by the Probation or Pretrial Services Office.


                                                                           RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                               to

at                                                          with a certified copy of this judgment.


                                                                                                         UNITED STATES MARSHAL



                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL
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                                                   CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                                  Fine                                  Restitution
TOTALS                    $ 200                                                                                             $ 91,509


E           The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
            after such determination.

LII         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

            If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
            otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
            victims must be paid before the United States is paid.

Name of Payee                                                     Total Loss *                        Restitution Ordered                 Priority or Percentage

VA Debt Management Center                                                                                      $91,509                            100%
RE: File Number 26745426
Bishop Henry Whipple Federal Building
P.O. Box 11930
St. Paul, Minnesota 55111-0930




TOTALS                                                                                                         $ 91,509

LI          Restitution amount ordered pursuant to plea agreement $

El          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
            fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
            to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      1     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                 the interest requirement is waived for             El         fine      Z      restitution.

           El    the interest requirement for           El      fine      El          restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, Il OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996,
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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A El Lump sum payment of$                                 ____ due immediately, balance due

           fl   not later than      -      -    -                - - , or
           LI in accordance                    C,           D                E, or            F below; or

B    0 Payment to begin immediately (may be combined with                            LII C,      LI   D, or     LI   F below); or

C    LI    Payment in equal               -          (e.g., weekly, monthly, quarterly) installments of $            -       -       over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    7 Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    LI    Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    LI    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

Pursuant to 18 U.S.C. § 3572(d)(3), the defendant shall notify the Court of any material change in the defendant's economic circumstances
that might affect the defendant's ability to pay the fine.


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

       Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.
       Defendant                               Case Number                              Total Amount                        Joint and Several Amount
       Pamela Dixon Wade                       5:13CR00003-1                            $95,688                             $91,509
       Rodney Deen                             5:13CR00003-2                            $91,509                             $91,509
       Justin Deen                             5:13CR00003-3                            $28,348                             $28,348

LI     The defendant shall pay the cost of prosecution.

LI     The defendant shall pay the following court cost(s):

LI     The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,              (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
